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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION


PROPERTIES OF THE VILLAGES,
INC.,

       Plaintiff,
                                             Case No.: 5:24-cv-00316-TJC-PRL
v.

FEDERAL TRADE COMMISSION,

       Defendant.


                              NOTICE OF APPEAL

      Please take notice that Defendant hereby appeals to the United States Court of

Appeals for the Eleventh Circuit from this Court’s August 15, 2024 Order and findings

on Plaintiff’s Motion for Stay of Effective Date and Preliminary Injunction, ECF No.

59.


Dated: September 24, 2024                  Respectfully submitted,

                                           BRIAN M. BOYNTON
                                           Principal Deputy Assistant Attorney General

                                           LESLEY R. FARBY
                                           Assistant Branch Director

                                           /s/ Rachael L. Westmoreland
                                           RACHAEL L. WESTMORELAND
                                           (GA Bar No. 539498)
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                                           Trial Attorneys
                                           U.S. Department of Justice
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